
The President,
who delivered the opinion of the Court, said, it is certainly proper that the Judges, before whom the cause was tried, should certify their opinion of the verdict. The only question is, whether, on such a certificate as this, the Court ought to grant a new trial. By one party it is contended, that juries ought not to become mere cyphers; and on the other, that it would be extremely inconvenient to give the Court no control over their verdict. This is true; but, if the Court may continue to grant new-trials till the verdict conforms to its opinion, juries are useless.* The Court is, therefore, of opinion, that, on such a certificate as this, a new trial should not be granted.
With respect to the demurrer, the Court thinks the principle laid down in the decree of the Chancellor a just one. For a real injury, compensation ought to be made.
With respect to the damages, the evidence does not show the amount; but, this being a tort,* the jury was not bound by exact calculation. The increase of damages in the second verdict might be produced by sudden passion, which in this case it was proper for the Chancellor to moderate, and to take that sum which two juries had affirmed.
The decree was affirmed.

[* Southall v. M'Keand et al. 1 Wash. 336; M'Rae v. Woods, 2 Wash. 80, 1 H. &amp; M. 548; Stannard v. Graves' ex'r. 2 Call, 369; Carter v. Campbell, Gilmer, 159; Savage v. Carroll, 2 Ball &amp; Beatty, 455.]

